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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

  E.R.K., by his legal guardian R.K.,
                                )             CIVIL NO. 10-00436 SOM-RT
  R.T.D., through his parents R.D. and
                                )
  M.D.; HAWAII DISABILITY       )
  RIGHTS CENTER, in a           )
  representative capacity on behalf of
                                )
  its clients and all others similarly
                                )
  situated,                     )
                                )
              Plaintiff(s),     )
                                )
         vs.                    )
                                )
  DEPARTMENT OF EDUCATION, )
  State of Hawaii,              )
                                )
              Defendant(s).     )
  _____________________________ )

               ORDER ADOPTING MAGISTRATE JUDGE’S
   FINDINGS AND RECOMMENDATION TO GRANT IN PART AND DENY IN
     PART SETTLEMENT ADMINISTRATOR’S MOTION FOR ADDITIONAL
                     ADMINISTRATION FUNDS

        Findings and Recommendation having been filed and served on all parties

  on October 22, 2020, and no objections having been filed by any party,

        IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

  United States Code, Section 636(b)(1)(C) and Local Rule 74.1, the “Findings and

  Recommendation To Grant In Part and Deny In Part Settlement Administrator’s

  Motion for Additional Administration Funds” are adopted as the opinion and order

  of this Court.
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        IT IS SO ORDERED.
